Case 8:22-bk-12142-SC   Doc 44 Filed 02/10/23 Entered 02/10/23 12:01:24     Desc
                         Main Document    Page 1 of 9




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Case 8:22-bk-12142-SC   Doc 44 Filed 02/10/23 Entered 02/10/23 12:01:24   Desc
                         Main Document    Page 2 of 9
Case 8:22-bk-12142-SC   Doc 44 Filed 02/10/23 Entered 02/10/23 12:01:24   Desc
                         Main Document    Page 3 of 9
Case 8:22-bk-12142-SC   Doc 44 Filed 02/10/23 Entered 02/10/23 12:01:24   Desc
                         Main Document    Page 4 of 9
Case 8:22-bk-12142-SC   Doc 44 Filed 02/10/23 Entered 02/10/23 12:01:24   Desc
                         Main Document    Page 5 of 9
Case 8:22-bk-12142-SC   Doc 44 Filed 02/10/23 Entered 02/10/23 12:01:24   Desc
                         Main Document    Page 6 of 9
Case 8:22-bk-12142-SC   Doc 44 Filed 02/10/23 Entered 02/10/23 12:01:24   Desc
                         Main Document    Page 7 of 9
Case 8:22-bk-12142-SC   Doc 44 Filed 02/10/23 Entered 02/10/23 12:01:24   Desc
                         Main Document    Page 8 of 9
Case 8:22-bk-12142-SC   Doc 44 Filed 02/10/23 Entered 02/10/23 12:01:24   Desc
                         Main Document    Page 9 of 9
